Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 1 of 8 Page ID #:878
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 2 of 8 Page ID #:879



  Category II: Public Safety Questions

  1. Who are the lead agencies and what are their roles?

         From the state side, the California Department of Public Health (CDPH), the Governor’s
  Office of Emergency Services, and the California Department of General Services are the
  primary state agencies
  2. Who are the incident commanders from the federal and state agencies?

           The Federal Government would designate an official to be the Incident Commander, as
  this is a federal operation.

  7. Who will be the State POC for resources and mutual aid?

         CDPH

  9. Who will be the State POC for media and public inquiries?

         The Joint Information Center

  Category III. Questions Regarding the Integrity of Fairview

  Background: FDC buildings 11-16 would be used to house COVID-19 patients. The ventilation
  systems for these buildings are not failing and the buildings have been seismically retrofitted.
  The seismic retrofit was done in January 2000 and the HVAC was completed in 2005 and 2006.

  A. Mechanical/HVAC

          1. According to the State’s own findings in its 2016 report on FDC (see state report
  attached as Exhibit B), the current ventilation system for FDC is beyond its useful life and
  failing. If FDC is used to isolate anyone who may in fact be capable of spreading the infection,
  does the government intend to make any changes to the existing ventilation system such that it
  meets the CDC guidelines for isolation?

          The report was not prepared to describe the site’s suitability for the federal government’s
  use to support COVID-19 patients who do not require hospitalization. The federal government’s
  quarantine requires the US HHS to secure an isolation site that would pose no risk of
  transmission to the community. For FDC to be used as a quarantine site, it must comply with
  CDC’s strict sheltering criteria, meet CDC’s clinical requirements for quarantine, and be
  consistent with other federal operational constraints. The state will support the federal
  government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 3 of 8 Page ID #:880



          2. What are the plans to make the current mechanical system capable of creating negative
  ventilation?

          The federal government’s quarantine requires the US HHS to secure an isolation site that
  would pose no risk of transmission to the community. For FDC to be used as a quarantine site, it
  must comply with CDC’s strict sheltering criteria, meet CDC’s clinical requirements for
  quarantine, and be consistent with other federal operational constraints. The state will support the
  federal government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.

          3. Is the current mechanical system capable of creating at least six air changes per hour,
  per the CDC guidelines?

          The federal government’s quarantine requires the US HHS to secure an isolation site that
  would pose no risk of transmission to the community. For FDC to be used as a quarantine site, it
  must comply with CDC’s strict sheltering criteria, meet CDC’s clinical requirements for
  quarantine, and be consistent with other federal operational constraints. The state will support the
  federal government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.

          4. What are the plans to add HEPA filtration on building exhaust systems?

          The federal government’s quarantine requires the US HHS to secure an isolation site that
  would pose no risk of transmission to the community. For FDC to be used as a quarantine site, it
  must comply with CDC’s strict sheltering criteria, meet CDC’s clinical requirements for
  quarantine, and be consistent with other federal operational constraints. The state will support
  the federal government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.

  5. How long will it take to install filters and retrofit to create negative ventilation?

          The federal government’s quarantine requires the US HHS to secure an isolation site that
  would pose no risk of transmission to the community. For FDC to be used as a quarantine site, it
  must comply with CDC’s strict sheltering criteria, meet CDC’s clinical requirements for
  quarantine, and be consistent with other federal operational constraints. The state will support
  the federal government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.

  6. If additional rooftop equipment is added, are the buildings structurally sound to support that
  weight?

         The federal government’s quarantine requires the US HHS to secure an isolation site that
  would pose no risk of transmission to the community. For FDC to be used as a quarantine site, it
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 4 of 8 Page ID #:881



  must comply with CDC’s strict sheltering criteria, meet CDC’s clinical requirements for
  quarantine, and be consistent with other federal operational constraints. The state will support
  the federal government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients. Further, additional information regarding weight of
  the rooftop equipment that will be required to be installed is needed to answer this question.
  Further, this question assumes that any equipment must be installed on the roof, which is not
  necessarily required.

  B. Seismic/Structural
  The State’s 2016 report (Exhibit B) by CHHS and DGS Referred to Seismic Safety Deficits at
  FDC. According to Part 6 of Exhibit B, in 1994, DGS evaluated the structural status of the
  buildings at FDC by from nearly perfect (Risk Level I) to unsafe even in the absence of an
  earthquake (Risk Level VII). Out of 53 “major” FDC buildings, 28 were evaluated (94% of total
  square footage):
     x   3 (11%) were designated as Risk Level VI,
     x   4 (14%) at Risk Level V
     x   13 (46%) at Risk Level IV
     x   8 (29%) at Risk Level III

  25 “major” buildings (6% of total square footage) were not assigned a risk level. “Smaller one-
  story structures” were excluded from evaluation “due to funding limitations.” According to the
  Section of Exhibit B entitled “Special Repairs and Other Major Projects,” as of 2016, no
  structural retrofit work has been conducted on the FDC buildings.

         7. Which 28 buildings exactly were assigned the aforementioned Risk Levels?

           We continue to review the specific risk levels of the 28 buildings. However, this
  question is immaterial to the issue of whether Fairview can currently safely house COVID-19
  patients. Buildings 11-16 would be used to house patients, and these buildings were seismically
  retrofitted in January 2000, after the risk assessment cited in Exhibit B was conducted in 1998.

          DGS has located 1997 seismic assessments of buildings D,E, and F, which will not be
  used for housing COVID-19 patients, and these buildings at that time were deemed to be at Risk
  Level VI, based on the “Levels of Earthquake Risk and Acceptability” produced by the Division
  of the State Architect. Buildings D, E, and F have since been retrofitted as of 2002. Recently, at
  the end of 2019, DGS hired the architectural firm IDS to review buildings D, E, and F to
  determine their potential use for permanent supportive housing purposes. IDS completed a Tier
  1 seismic screening per ASCE 41-17 standard and classified those buildings as Risk Category II.
  IDS concluded in their analysis that the buildings comply with the basic safety objective of
  ASCE 41-17 standard and that no structural retrofit was recommended at this time.
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 5 of 8 Page ID #:882



         8. Which of those 28 buildings are currently being considered for occupancy?

           Buildings 11-16 are being considered for occupancy. These buildings were seismically
  retrofitted in January 2000 and are safe for occupancy. We continue to review the report to see
  how the assessments in the report match up to the current structures.

          9. Which document was used for risk level assignment? How does this document relate to
  current standards (for example, ASCE 41-13)?

          The assessment was conducted in 1998. Below are the criteria used to assign a risk level
  to a building. However, this question is immaterial to the issue of whether Fairview can currently
  safely house COVID-19 patients. Buildings 11-16 would be used to house such patients, and
  these buildings were seismically retrofitted in January 2000, after the risk assessment was
  conducted in 1998.

   RISK LEVEL           ASPECT                  ANTICIPATED RESULTS
          I             Building:               Potentially no structural damage; immediately
                                                repairable if any. Negligible non-structural
                                                damage; repairable.
                        Risk to life:           Negligible.
                        Systems:                Probably remain Operational.
                        Occupancy:              Immediate, with only negligible disruption during
                                                clean-up.
            II          Building:               Negligible structural damage; repairable. Minor
                                                non-structural damage; repairable
                        Risk to life:           Negligible.
                        Systems:                Minor disruptions for hours to days.
                        Occupancy:              Minor disruptions during clean-up.
           III          Building:               Minor structural damage; repairable.
                                                Moderate non-structural damage; extensive
                                                repair.
                        Risk to life:           Minor.
                        Systems:                Disruption of systems for days to months.
                        Occupancy:              Within weeks, with minor disruptions.
           IV           Building:               Moderate structural damage; substantial repair.
                                                Substantial non-structural damage; extensive
                                                repair.
                        Risk to life:           Moderate.
                        Systems:                Disruption of systems for months to years.
                        Occupancy:              Partially to totally vacated during repairs.
            V           Building:               Substantial structural damage; repair may not be
                                                cost effective. Extensive non-structural damage;
                                                repair may not be cost effective.
                        Risk to life:           Substantial.
                        Systems:                Total disruption of systems; repair may not be
                                                cost effective.
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 6 of 8 Page ID #:883



                         Occupancy:              Totally vacated during repairs.
            VI           Building:               Extensive structural damage, collapse likely;
                                                 repair probably not cost effective.
                                                 Extensive non-structural damage; repair may not
                                                 be cost effective.
                         Risk to life:           Extensive, but not imminent. Extrication
                                                 protracted and difficult.
                         Systems:                Total disruption of systems; repair probably not
                                                 cost effective.
                         Occupancy:              Totally vacated during repairs (if repairable).
           VII           Building:               Unstable under existing vertical loads or
                                                 earthquake.
                         Risk to life:           Imminent threat to occupants and/or adjacent
                                                 property.
                         Systems:                Total disruption of systems; repair probably not
                                                 cost effective.
                         Occupancy:              Should be vacated until structural upgrading is
                                                 accomplished

         10. Which 25 buildings were not assigned a risk level? Are these buildings to be avoided
  or should they be evaluated?

          The report indicates that 25 building were not assigned a risk level because these
  buildings were not deemed to be “significant buildings in terms of population at risk and type of
  use. Smaller one-story structures were excluded due to funding limitations.” The DDS report
  also notes that these 25 buildings represent only 6 percent of the entire square footage of
  buildings in the Fairview Developmental Center.

        11. What is the actual structural configuration of these buildings (wood framing, concrete
  masonry, steel frames, etc.)?

         Many of the one-story buildings are wood framed construction.

         12. What was the reason for the risk classification, particularly, at the higher risk levels?

          Risk assessments were conducted for all state buildings using criteria developed by DGS
  and a private entity (Vanir) conducting the assessments. However, the report cited by the City is
  not dispositive because the Fairview buildings that could potentially house COVID-19 patients
  (buildings 11-16) were seismically retrofitted in January 2000.

          13. What is the actual condition of the “smaller one-story structures” (can be structurally
  deficient and hazardous, and/or should be cordoned)?

         The condition of these one-story structures varies, so it is premature to determine their
  condition.
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 7 of 8 Page ID #:884



        14. What is the risk rating of the buildings according to current building standards (for
  example, ASCE 41-13)?

         The risk ratings were assigned in 1994, so translating these into current building
  standards will require additional investigation and analysis.

          15. Which (if any) FDC buildings can be approved for safe occupancy according to
  current standards?

         As noted above, buildings 11-16 are planned for use for this purpose and have been
  determined safe for general occupancy by the state.

  Category IV: Fairview Operations and Site Certification Questions

  14. Have the water/sewer/power systems been tested?

         DGS recently tested the water, sewer, and power for the buildings for which it provided
  cleaning services. The systems in these buildings appeared to be fully operable.

  15. What analysis has been done to determine the sufficiency of the water/sewer/power systems
  for the intended use?

          DGS recently tested the water, sewer, and power for the buildings for which it provided
  cleaning services. The systems in these buildings appeared to be fully operable. The federal
  government’s quarantine requires the US HHS to secure an isolation site that would pose no risk
  of transmission to the community. For FDC to be used as a quarantine site, it must comply with
  CDC’s strict sheltering criteria, meet CDC’s clinical requirements for quarantine, and be
  consistent with other federal operational constraints. The state will support the federal
  government’s efforts to ensure any site provides safe, secure, and well-monitored, and
  medically-supported isolation for patients.

  16. What are the conditions of the water/sewer/power systems?

         DGS recently tested the water, sewer, and power for the buildings for which it provided
  cleaning services. The systems in these buildings appeared to be fully operable.

  24. Are there any contracts in place for service and repairs, if so who and are
  they available 24 hours a day to respond to an isolation zone?

        DGS has emergency contracting powers which enable the department to authorize
  emergency services and repairs that could be conducted 24 hours a day, if necessary.
Case 8:20-cv-00368-JLS-JDE Document 45-1 Filed 02/28/20 Page 8 of 8 Page ID #:885



  26. What are the air monitoring capabilities?

         The state’s capabilities can and may change depending on federal health officials’
  recommendations and requirements, so it is premature to determine what these air monitoring
  capabilities are, given they are subject to change.
